              Case 21-53061-wlh                    Doc 1     Filed 04/15/21 Entered 04/15/21 19:18:03                        Desc Main
                                                             Document      Page 1 of 62
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Northern District of Georgia        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Scott
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          Michael
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Guenther
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           4    9    8    4
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
            Case 21-53061-wlh                       Doc 1          Filed 04/15/21 Entered 04/15/21 19:18:03                               Desc Main
               Scott Michael Guenther
                                                                   Document      Page 2 of 62
Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name   Middle Name               Last Name




                                           About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                          
                                           ✔ I have not used any business names or EINs.                      I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in                _________________________________________________                 _________________________________________________
     the last 8 years                      Business name                                                     Business name

     Include trade names and
                                           _________________________________________________                 _________________________________________________
     doing business as names               Business name                                                     Business name



                                           _________________________________________________                 _________________________________________________
                                           EIN                                                               EIN

                                           _________________________________________________                 _________________________________________________

                                           EIN                                                               EIN



5.   Where you live                                                                                          If Debtor 2 lives at a different address:


                                           5215 Coacoochee Terr.                                             _________________________________________________
                                           _________________________________________________
                                           Number     Street                                                 Number     Street


                                           _________________________________________________                 _________________________________________________


                                           Johns Creek                             GA
                                           _________________________________________________
                                                                                             30022           _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code

                                           Fulton County                                                     _________________________________________________
                                           _________________________________________________
                                           County                                                            County


                                           If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                       any notices to this mailing address.


                                           _________________________________________________                 _________________________________________________
                                           Number     Street                                                 Number     Street

                                           _________________________________________________                 _________________________________________________
                                           P.O. Box                                                          P.O. Box

                                           _________________________________________________                 _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                        Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I            Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other           have lived in this district longer than in any other
                                                 district.                                                      district.

                                            I have another reason. Explain.                                  I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
              Case 21-53061-wlh                    Doc 1           Filed 04/15/21 Entered 04/15/21 19:18:03                           Desc Main
                 Scott Michael Guenther
                                                                   Document      Page 3 of 62
 Debtor 1         _______________________________________________________                            Case number (if known)_____________________________________
                  First Name   Middle Name             Last Name




 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                             
                                             ✔
                                               Chapter 7
                                              Chapter 11
                                              Chapter 12
                                              Chapter 13

 8.    How you will pay the fee              
                                             ✔
                                               I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                              I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for         
                                  ✔ No
       bankruptcy within the
       last 8 years?               Yes.        District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                  Debtor _________________________________________________                         R elationship to you ___________________________

                                  District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                      
                                             ✔ No.    Go to line 12.
       residence?                             Yes.   Has your landlord obtained an eviction judgment against you?


                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                           this bankruptcy petition.




       Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
             Case 21-53061-wlh                        Doc 1           Filed 04/15/21 Entered 04/15/21 19:18:03                           Desc Main
                Scott Michael Guenther
                                                                      Document      Page 4 of 62
Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                 First Name       Middle Name             Last Name




Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________        _______      __________________________
                                                          City                                                  State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above

                                                If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13.   Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
                                                
                                                ✔ No.    I am not filing under Chapter 11.
      defined by 11 U.S. C. §
      1182(1)?                                   No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                         the Bankruptcy Code.
      For a definition of small
      business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
      11 U.S.C. § 101(51D).                              Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                 Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14.   Do you own or have any                    
                                                ✔ No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property?




      Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
             Case 21-53061-wlh                     Doc 1           Filed 04/15/21 Entered 04/15/21 19:18:03                                Desc Main
               Scott Michael Guenther
                                                                   Document      Page 5 of 62
Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                    deficiency that makes me                                          deficiency that makes me
                                                                    incapable of realizing or making                                  incapable of realizing or making
                                                                    rational decisions about finances.                                rational decisions about finances.
                                                 Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                    to be unable to participate in a                                  to be unable to participate in a
                                                                    briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                    through the internet, even after I                                through the internet, even after I
                                                                    reasonably tried to do so.                                        reasonably tried to do so.
                                                 Active duty.      I am currently on active military               Active duty.     I am currently on active military
                                                                    duty in a military combat zone.                                   duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




       Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
              Case 21-53061-wlh                      Doc 1          Filed 04/15/21 Entered 04/15/21 19:18:03                                Desc Main
                Scott Michael Guenther
                                                                    Document      Page 6 of 62
Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                        as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   
                                                   ✔   No. Go to line 16b.
                                                      Yes. Go to line 17.

                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                      No. Go to line 16c.
                                                   
                                                   ✔   Yes. Go to line 17.

                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17.   Are you filing under
      Chapter 7?                               No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                   
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                    50-99                                     5,001-10,000                           50,001-100,000
      owe?                                     100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                               
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                          $0-$50,000                               
                                                                                         ✔ $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities                $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                   $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Scott Michael Guenther
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    04/15/2021
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
            Case 21-53061-wlh                       Doc 1          Filed 04/15/21 Entered 04/15/21 19:18:03                                Desc Main
               Scott Michael Guenther
                                                                   Document      Page 7 of 62
Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Will Geer                                                     Date          _________________
                                                                                                                                04/15/2021
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  Will Geer
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Wiggam & Geer, LLC
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 50 Hurt Plaza, SE, Suite 1150
                                                _________________________________________________________________________________________________
                                                Number Street

                                                _________________________________________________________________________________________________

                                                 Atlanta                                                         GA            30303
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 404-233-9800
                                                              ______________________________         Email address
                                                                                                                     wgeer@wiggamgeer.com
                                                                                                                     _________________________________________



                                                 940493                                                          GA
                                                ______________________________________________________ ____________
                                                Bar number                                              State




           Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
              Case 21-53061-wlh                         Doc 1           Filed 04/15/21 Entered 04/15/21 19:18:03                                                      Desc Main
                                                                        Document      Page 8 of 62

 Fill in this information to identify your case:

 Debtor 1
                     Scott Michael Guenther
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 175,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 68,250.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 243,250.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 335,698.43
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 365,160.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 2,777,797.77
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 3,478,656.20
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 18,779.99
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 19,226.66
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
              Case 21-53061-wlh                  Doc 1         Filed 04/15/21 Entered 04/15/21 19:18:03                               Desc Main
                  Scott Guenther
                                                               Document      Page 9 of 62
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                    97,500.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                   267,660.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                     42,597.40
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                             407,757.40
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
               Case 21-53061-wlh                                Doc 1             Filed 04/15/21 Entered 04/15/21 19:18:03                                                                 Desc Main
                                                                                 Document      Page 10 of 62

Fill in this information to identify your case and this filing:

                    Scott Michael Guenther
Debtor 1
                    First Name               Middle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name                 Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of
Georgia
                                                                                                                                                                                                            Check if this is an
Case number                                                                                                                                                                                                 amended filing
(if know)



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                                  12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category
where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and
case number (if known). Answer every question.


Part 1:            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?


                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put
    1.1 5215 Coacoochee Terr.                                                      Single-family home
            Street address, if available, or other description                                                                                                  the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building                                             Creditors Who Have Claims Secured by Property:
                                                                                      Condominium or cooperative
                                                                                                                                                                Current value of the                Current value of the
                                                                                      Manufactured or mobile home                                               entire property?                    portion you own?
            Johns Creek GA           30022
                                                                                      Land                                                                      $ 350,000.00                        $ 175,000.00
            City          State      ZIP Code
                                                                                      Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                      Timeshare                                                                 interest (such as fee simple, tenancy by the
            Fulton County                                                             Other                                                                     entireties, or a life estate), if known.

            Country                                                              Who has an interest in the property? Check one                                 Fee simple
                                                                                   Debtor 1 only
                                                                                      Debtor 2 only                                                                  Check if this is community property
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤             $ 175,000.00


Part 2:            Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes

   3.1 Make:Jaguar                                                               Who has an interest in the property? Check one
                                                                                                                                                               Do not deduct secured claims or exemptions. Put
            Model:xjl                                                              Debtor 1 only                                                               the amount of any secured claims onSchedule D:
                                                                                      Debtor 2 only                                                            Creditors Who Have Claims Secured by Property:
            Year:                           2016
                                                                                      Debtor 1 and Debtor 2 only                                                  Current value of the                  Current value of the
            Approximate mileage: 63000
                                                                                      At least one of the debtors and another                                     entire property?                      portion you own?
               Other information:
              Condition:Good;                                                        Check if this is community property (see                                     $ 26,000.00                           $ 26,000.00
                                                                                 instructions)




                                                                                                                                                                                                                    page 1 of 5
               Case 21-53061-wlh                                 Doc 1             Filed 04/15/21 Entered 04/15/21 19:18:03 Desc Main
Debtor 1          Scott Michael Guenther
                 First Name          Middle Name         Last Name
                                                                                  Document      Page 11 of 62      Case number(if known)



    3.2 Make:maserati                                                             Who has an interest in the property? Check one
                                                                                                                                                                Do not deduct secured claims or exemptions. Put
           Model:gran turismo                                                       Debtor 1 only                                                               the amount of any secured claims onSchedule D:
                                                                                       Debtor 2 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2013
                                                                                       Debtor 1 and Debtor 2 only                                                  Current value of the                 Current value of the
           Approximate mileage: 23000
                                                                                       At least one of the debtors and another                                     entire property?                     portion you own?
              Other information:
              Condition:Good;                                                         Check if this is community property (see                                     $ 35,000.00                          $ 35,000.00
                                                                                  instructions)


  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 61,000.00



 Part 3:         Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

          Home furniture, living room, dining room, kitchen, office, foyer, 3 bedrooms, and various household goods                                                                                     $ 3,500.00
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

          3 used TVs, Ipod, TV receiver, speakers, and various household electronics.                                                                                                                   $ 750.00
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...

          golf clubs                                                                                                                                                                                    $ 500.00
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...
  11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
              No
              Yes. Describe...

          All pants, shirts, jackets, suits, etc. Used clothes                                                                                                                                          $ 200.00




                                                                                                                                                                                                                      page 2 of 5
              Case 21-53061-wlh                                     Doc 1               Filed 04/15/21 Entered 04/15/21 19:18:03 Desc Main
Debtor 1          Scott Michael Guenther
                First Name            Middle Name           Last Name
                                                                                       Document      Page 12 of 62      Case number(if known)



  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

        wedding ring                                                                                                                                                                                 $ 500.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 5,450.00



 Part 4:        Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $ 200.00
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Chase Bank                                                                                                                       $ 1,600.00

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
        LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
        Name of entity:                                                                                                                                          % of ownership:
        Champion Computer Products, Inc                                                                                                                          95                 %                $ Unknown
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........
  21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately




                                                                                                                                                                                                                  page 3 of 5
              Case 21-53061-wlh                         Doc 1    Filed 04/15/21 Entered 04/15/21 19:18:03 Desc Main
Debtor 1          Scott Michael Guenther
                First Name          Middle Name   Last Name
                                                                Document      Page 13 of 62      Case number(if known)



  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
           Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                     companies, or others

             No
             Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
             No
             Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No
             Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit
             No
         Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                    Federal:          $ 0.00
                                                                                                                    State:            $ 0.00
                                                                                                                    Local:            $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims
             No
             Yes. Give specific information....

                                                                                                                                                   page 4 of 5
                Case 21-53061-wlh                                     Doc 1              Filed 04/15/21 Entered 04/15/21 19:18:03 Desc Main
Debtor 1            Scott Michael Guenther
                  First Name            Middle Name           Last Name
                                                                                        Document      Page 14 of 62      Case number(if known)



  35. Any financial assets you did not already list
               No
               Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
       you have attached for Part 4. Write that number here...........................................................................................................................................➤              $ 1,800.00


 Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:            If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above
  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                      ................................................➤
                                                                                                                                                                                                                      $ 0.00

 Part 8:          List the Totals of Each Part of this Form
  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                  $ 175,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 61,000.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 5,450.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 1,800.00
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $      0.00

  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 68,250.00                          Copy personal property total➤        +$
                                                                                                                                                                                                               68,250.00
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                        $ 243,250.00




                                                                                                                                                                                                                     page 5 of 5
               Case 21-53061-wlh                  Doc 1           Filed 04/15/21 Entered 04/15/21 19:18:03                                       Desc Main
                                                                 Document      Page 15 of 62
 Fill in this information to identify your case:

                     Scott Michael Guenther
 Debtor 1          __________________________________________________________________
                     First Name                Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                         (State)
 Case number
  (If known)
                     ___________________________________________                                                                                       Check if this is an
                                                                                                                                                          amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                 4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                     11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on            Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                    portion you own                           exemption you claim

                                                                Copy the value from                       Check only one box
                                                                Schedule A/B                              for each exemption
                 5215 Coacoochee Terr.                                                                                                   Ga. Code Ann. § 44-13-100 (a)(1)
 Brief
 description:
                                                                        175,000.00
                                                                       $________________           
                                                                                                   ✔ $ ____________
                                                                                                       20,000.00
                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:      1.1
              Household goods - Home furniture, living room,                                                                             Ga. Code Ann. § 44-13-100 (a)(4)
 Brief        dining room, kitchen, office, foyer, 3 bedrooms, and
 description: various household goods
                                                                         3,500.00
                                                                       $________________            $ ____________
                                                                                                    ✔  3,500.00
                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:          6
                 Electronics - 3 used TVs, Ipod, TV receiver,                                                                            Ga. Code Ann. § 44-13-100 (a)(4)
 Brief
 description:
                 speakers, and various household electronics.          $________________
                                                                         750.00                    
                                                                                                   ✔ $ ____________
                                                                                                       750.00
                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                                              2
                                                                                                                                                                page 1 of __
               Case 21-53061-wlh Doc 1 Filed 04/15/21 Entered 04/15/21 19:18:03 Desc Main
Debtor           Scott Michael Guenther Document
                _______________________________________________________
                                                                        Page 16 of Case
                                                                                    62 number (if known)_____________________________________
                 First Name       Middle Name             Last Name




 Pa rt 2 :       Addit iona l Pa ge

            description of the property and line
         Brief                                                                                   Amount of the                       Specific laws that allow exemption
                                                                          Current value of the   exemption you claim
         on Schedule A/B that lists this property                         portion you own
                                                                         Copy the value from    Check only one box
                                                                          Schedule A/B           for each exemption
                Sports and hobby equipment - golf clubs                                                                               Ga. Code Ann. § 44-13-100 (a)(4)
Brief
description:
                                                                           500.00
                                                                          $________________         500.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:           9
                Clothing - All pants, shirts, jackets, suits, etc. Used                                                               Ga. Code Ann. § 44-13-100 (a)(4)
Brief
description:
                clothes                                                   $________________
                                                                           200.00                
                                                                                                 ✔ $ ____________
                                                                                                     200.00
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:          11
                Jewelry - wedding ring                                                                                                Ga. Code Ann. § 44-13-100 (a)(5)
Brief
description:                                                              $________________
                                                                           500.00                
                                                                                                 ✔ $ ____________
                                                                                                     500.00
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:          12
                Cash (Cash On Hand)                                                                                                   Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:
                                                                           200.00
                                                                          $________________         200.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:         16
                Chase Bank (Checking)                                                                                                 Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:
                                                                           1,600.00
                                                                          $________________         1,600.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:            17.1

Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:


 Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                2
                                                                                                                                                      page ___ of __2
                 Case 21-53061-wlh                            Doc 1      Filed 04/15/21 Entered 04/15/21 19:18:03                                               Desc Main
                                                                        Document      Page 17 of 62
  Fill in this information to identify your case:

                     Scott Michael Guenther
  Debtor 1
                     First Name             Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                Middle Name        Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number
  (if know)                                                                                                                                                                    Check if this is an
                                                                                                                                                                               amended filing



Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                        12/15


  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
  more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
  name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.



  Part 1:         List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If      Column A               Column B               Column C
     more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, list the claims in   Amount of claim        Value of collateral    Unsecured
     alphabetical order according to the creditor’s name.                                                                         Do not deduct the      that supports this     portion If any
                                                                                                                                  value of collateral.   claim
 2.1                                                                            Describe the property that secures the claim: $ 276,720.00               $ 350,000.00           $ 0.00


          GA DAWG LLC
                                                                              5215 Coacoochee Terr., Johns Creek, GA 30022 - $350,000.00
          Creditor’s Name
          367 BLUFFS EDGE
          Number       Street
                                                                             As of the date you file, the claim is: Check all that
          LAKE FOREST IL                60045                                apply.
          City               State      ZIP Code                                Contingent
          Who owes the debt? Check one.                                         Unliquidated
            Debtor 1 only                                                       Disputed
                 Debtor 2 only
                 Debtor 1 and Debtor 2 only                                  Nature of lien. Check all that apply.
                 At least one of the debtors and another                        An agreement you made (such as mortgage or
                                                                                secured car loan)
                 Check if this claim relates to a community                     Statutory lien (such as tax lien, mechanic’s lien)
                 debt                                                           Judgment lien from a lawsuit
                                                                                Other (including a right to offset)
          Date debt was incurred 08/01/2020
                                                                             Last 4 digits of account number

 2.2                                                                            Describe the property that secures the claim: $ 19,449.46                $ 26,000.00            $ 0.00


          Jaguar Financial
                                                                              2016 Jaguar xjl - $26,000.00
          Creditor’s Name
          PO BOX 78232
          Number       Street
                                                                             As of the date you file, the claim is: Check all that
          Phoenix AZ            85062                                        apply.
          City       State      ZIP Code                                        Contingent
          Who owes the debt? Check one.                                         Unliquidated
            Debtor 1 only                                                       Disputed
                 Debtor 2 only
                 Debtor 1 and Debtor 2 only                                  Nature of lien. Check all that apply.
                                                                                An agreement you made (such as mortgage or
                 At least one of the debtors and another
                                                                                secured car loan)
                 Check if this claim relates to a community                     Statutory lien (such as tax lien, mechanic’s lien)
                 debt                                                           Judgment lien from a lawsuit
                                                                                Other (including a right to offset)
          Date debt was incurred
                                                                             Last 4 digits of account number



Official Form 106D                                                Schedule D: Creditors Who Have Claims Secured by Property                                                              page 1 of 2
                Scott Michael Guenther
Debtor          Case     21-53061-wlh
                First Name        Middle Name   Last Name   Doc 1    Filed 04/15/21 Entered 04/15/21 Case
                                                                                                     19:18:03          Desc Main
                                                                                                          number(if known)

                                                                    Document      Page 18 of 62
 2.3                                                                     Describe the property that secures the claim: $ 39,528.97             $ 35,000.00           $ 4,528.97


         Northwest Bank
                                                                       2013 maserati gran turismo - $35,000.00
         Creditor’s Name
         PO BOX 1793
         Number         Street
                                                                      As of the date you file, the claim is: Check all that
         WARREN PA               16365                                apply.
         City           State    ZIP Code                                Contingent
         Who owes the debt? Check one.                                   Unliquidated
           Debtor 1 only                                                 Disputed
                Debtor 2 only
                Debtor 1 and Debtor 2 only                            Nature of lien. Check all that apply.
                At least one of the debtors and another                  An agreement you made (such as mortgage or
                                                                         secured car loan)
                Check if this claim relates to a community               Statutory lien (such as tax lien, mechanic’s lien)
                debt                                                     Judgment lien from a lawsuit
                                                                         Other (including a right to offset)
         Date debt was incurred
                                                                      Last 4 digits of account number

                  Add the dollar value of your entries in Column A on this page. Write that number here:
                                                                                                                        $ 335,698.43



  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying to collect from
   you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that
   you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 2
                  Case 21-53061-wlh                          Doc 1       Filed 04/15/21 Entered 04/15/21 19:18:03                                                  Desc Main
                                                                        Document      Page 19 of 62
   Fill in this information to identify your case:

                       Scott Michael Guenther
   Debtor 1
                       First Name          Middle Name           Last Name

   Debtor 2
   (Spouse, if filing) First Name              Middle Name         Last Name


   United States Bankruptcy Court for the: Northern District of Georgia

   Case number
   (if know)                                                                                                                                                                     Check if this is an
                                                                                                                                                                                 amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                                12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to any executory
 contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts
 and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by
 Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any
 additional pages, write your name and case number (if known).

   Part 1:         List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
         Yes.

   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type
      of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical
      order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list
      the other creditors in Part 3. (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                               Total claim        Priority            Nonpriority
                                                                                                                                                                  amount              amount

  2.1                                                                        Last 4 digits of account number                                   $ Unknown          $ Unknown          $ Unknown
          Georgia Department of Revenue
                                                                             When was the debt incurred?
          Priority Creditor's Name
          Bankruptcy Section                                                 As of the date you file, the claim is: Check all
          Number        Street                                               that apply.
          P.O. Box 161108                                                       Contingent
                                                                                Unliquidated
          Atlanta GA          30321-0000                                        Disputed
          City      State     ZIP Code
                                                                             Type of PRIORITY unsecured claim:
          Who owes the debt? Check one.
                                                                                Domestic support obligations
            Debtor 1 only
                                                                                Taxes and certain other debts you owe the
                 Debtor 2 only                                                  government
                 Debtor 1 and Debtor 2 only                                     Claims for death or personal injury while you were
                 At least one of the debtors and another                        intoxicated
                                                                                Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes
  2.2                                                                        Last 4 digits of account number                                   $ 267,660.00       $ 267,660.00       $ 0.00
          Internal Revenue Service
                                                                             When was the debt incurred? 2018-2020
          Priority Creditor's Name
          CIO                                                                As of the date you file, the claim is: Check all
          Number        Street                                               that apply.
          P.O. Box 7346                                                         Contingent
                                                                                Unliquidated
          Philadelphia PA           19101-7346                                  Disputed
          City            State     ZIP Code
                                                                             Type of PRIORITY unsecured claim:
          Who owes the debt? Check one.
                                                                                Domestic support obligations
            Debtor 1 only
                                                                                Taxes and certain other debts you owe the
                 Debtor 2 only                                                  government
                 Debtor 1 and Debtor 2 only                                     Claims for death or personal injury while you were
                 At least one of the debtors and another                        intoxicated
              Check if this claim relates to a community                        Other. Specify
              debt
          Is the claim subject to offset?
              No
                 Yes

Official Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                                  page 1 of 13
                  Scott Michael Guenther
 Debtor           Case     21-53061-wlh
                  First Name           Middle Name   Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                           19:18:03          Desc Main
                                                                                                                number(if known)

                                                                          Document      Page 20 of 62
   Part 1:         Your PRIORITY Unsecured Claims ─ Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                                         Total claim        Priority            Nonpriority
                                                                                                                                                                    amount              amount
  2.3                                                                       Last 4 digits of account number                                      $ 97,500.00        $ 0.00             $ 97,500.00
          JANET HALPRIN
                                                                            When was the debt incurred? 04/16/2012
          Priority Creditor's Name
          179 TOWLER SHOALS DRIVE                                           As of the date you file, the claim is: Check all
          Number         Street                                             that apply.
          LOGANVILLE GA                 30052                                  Contingent
          City                 State    ZIP Code                               Unliquidated
          Who owes the debt? Check one.                                        Disputed
            Debtor 1 only
                                                                            Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                               Domestic support obligations
                 Debtor 1 and Debtor 2 only
                                                                               Taxes and certain other debts you owe the
                 At least one of the debtors and another                       government
              Check if this claim relates to a community                       Claims for death or personal injury while you were
              debt                                                             intoxicated
          Is the claim subject to offset?                                      Other. Specify
              No
                 Yes
   Part 2:         List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
         No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured claim, list the
      creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim,
      list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                                        Total claim


  4.1                                                                       Last 4 digits of account number 3001
          AMERICAN EXPRESS BLUE                                                                                                                                                           $ 1,742.00
                                                                            When was the debt incurred? 01/15/1984
          Nonpriority Creditor's Name
          PO BOX 981535                                                     As of the date you file, the claim is: Check all that apply.
          Number         Street                                                Contingent
          EL PASO TX              79998                                        Unliquidated
          City          State     ZIP Code                                     Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                Student loans

                 Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
                 At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                             Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.2                                                                       Last 4 digits of account number 3005
          AMERICAN EXPRESS BUSINESS GOLD                                                                                                                                                $ 39,237.00
                                                                            When was the debt incurred? 01/15/1984
          Nonpriority Creditor's Name
          PO BOX 981535                                                     As of the date you file, the claim is: Check all that apply.
          Number         Street                                                Contingent
          EL PASO TX              79998                                        Unliquidated
          City          State     ZIP Code                                     Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                Student loans

                 Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
                 At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                             Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                                  page 2 of 13
                  Scott Michael Guenther
 Debtor           Case     21-53061-wlh
                  First Name            Middle Name   Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                            19:18:03          Desc Main
                                                                                                                 number(if known)

                                                                           Document      Page 21 of 62
  4.3                                                                        Last 4 digits of account number 2000
          AMERICAN EXPRESS DELTA SKY MILES                                                                                                       $ 7,573.11
                                                                             When was the debt incurred? 01/15/1984
          Nonpriority Creditor's Name
          PO BOX 981535                                                      As of the date you file, the claim is: Check all that apply.
          Number         Street                                                 Contingent
          EL PASO TX              79998-1535                                    Unliquidated
          City          State     ZIP Code                                      Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                 Student loans

                 Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
                 At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                              Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.4                                                                        Last 4 digits of account number
          ARLINGTON GUENTHER                                                                                                                   $ 245,000.00
                                                                             When was the debt incurred? 01/11/2019
          Nonpriority Creditor's Name
          367 BLUFFS EDGE                                                    As of the date you file, the claim is: Check all that apply.
          Number         Street                                                 Contingent
          LAKE FOREST IL                   60045                                Unliquidated
          City                  State      ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                 Student loans

                 Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
                 At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                              Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
                 Yes

  4.5                                                                        Last 4 digits of account number 8108
          BANK OF AMERICA                                                                                                                        $ 1,501.00
                                                                             When was the debt incurred? 01/15/2010
          Nonpriority Creditor's Name
          PO BOX 982234                                                      As of the date you file, the claim is: Check all that apply.
          Number         Street                                                 Contingent
          EL PASO TX              79998                                         Unliquidated
          City          State     ZIP Code                                      Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                 Student loans

                 Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
                 At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                              Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                      Schedule E/F: Creditors Who Have Unsecured Claims                       page 3 of 13
                  Scott Michael Guenther
 Debtor           Case     21-53061-wlh
                  First Name           Middle Name   Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                           19:18:03          Desc Main
                                                                                                                number(if known)

                                                                          Document      Page 22 of 62
  4.6                                                                       Last 4 digits of account number 0674
          BARCLAYS BLACK MASTERCARD                                                                                                           $ 4,476.00
                                                                            When was the debt incurred? 01/15/2015
          Nonpriority Creditor's Name
          PO BOX 8801                                                       As of the date you file, the claim is: Check all that apply.
          Number         Street                                                Contingent
          WILMINGTON DE                  19899                                 Unliquidated
          City                 State     ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                Student loans
                 Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
                 At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                             Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.7                                                                       Last 4 digits of account number 5553
          BARCLAYS NFL                                                                                                                        $ 3,668.00
                                                                            When was the debt incurred? 01/15/2015
          Nonpriority Creditor's Name
          PO BOX 8801                                                       As of the date you file, the claim is: Check all that apply.
          Number         Street                                                Contingent
          WILMINGTON DE                  19899                                 Unliquidated
          City                 State     ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                Student loans
                 Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
                 At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                             Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.8                                                                       Last 4 digits of account number 8682
          BARCLAYS REWARDS                                                                                                                    $ 2,032.00
                                                                            When was the debt incurred? 01/15/2015
          Nonpriority Creditor's Name
          PO BOX 8801                                                       As of the date you file, the claim is: Check all that apply.
          Number         Street                                                Contingent
          WILMINGTON DE                  19899                                 Unliquidated
          City                 State     ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                Student loans
                 Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
                 At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                             Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                     page 4 of 13
                  Scott Michael Guenther
 Debtor           Case     21-53061-wlh
                  First Name        Middle Name       Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                            19:18:03          Desc Main
                                                                                                                 number(if known)

                                                                           Document      Page 23 of 62
  4.9                                                                        Last 4 digits of account number 7102
          CAN CAPITAL ASSET SERVICING INC (LAWSUIT)                                                                                            $ 172,466.28
                                                                             When was the debt incurred? 07/21/2020
          Nonpriority Creditor's Name
          12 POWDER SPRING STREET                                            As of the date you file, the claim is: Check all that apply.
          Number         Street                                                 Contingent
          SUITE 240 ATTN: JASON KHANO ATTY                                      Unliquidated
                                                                                Disputed
          MARIETTA GA              30064
          City            State    ZIP Code                                  Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                        Student loans
            Debtor 1 only                                                       Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
                 Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                                     debts
                 At least one of the debtors and another                        Other. Specify Monies Loaned / Advanced
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes
  4.10                                                                       Last 4 digits of account number 8217
          CAPITAL ONE PLATINUM                                                                                                                   $ 4,287.00
                                                                             When was the debt incurred? 01/15/2015
          Nonpriority Creditor's Name
          PO BOX 30285                                                       As of the date you file, the claim is: Check all that apply.
          Number         Street                                                 Contingent
          SALT LAKE CITY UT                84130                                Unliquidated
          City                    State    ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                 Student loans
                 Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
                 At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                              Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.11                                                                       Last 4 digits of account number 8690
          CAPITAL ONE VENTURE VISA                                                                                                               $ 8,917.00
                                                                             When was the debt incurred? 01/15/2015
          Nonpriority Creditor's Name
          PO BOX 30285                                                       As of the date you file, the claim is: Check all that apply.
          Number         Street                                                 Contingent
          SALT LAKE CITY UT                84130                                Unliquidated
          City                    State    ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                 Student loans
                 Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
                 At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                              Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                      Schedule E/F: Creditors Who Have Unsecured Claims                       page 5 of 13
                  Scott Michael Guenther
 Debtor           Case     21-53061-wlh
                  First Name             Middle Name       Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                                 19:18:03          Desc Main
                                                                                                                      number(if known)

                                                                                Document      Page 24 of 62
  4.12                                                                            Last 4 digits of account number 7868
          CARE MEDICAL TRANSPORTATION                                                                                                                  $ 2,344.00
                                                                                  When was the debt incurred? 05/03/2019
          Nonpriority Creditor's Name
          9770 CANDIDA STREET                                                     As of the date you file, the claim is: Check all that apply.
          Number         Street                                                      Contingent
          SAN DIEGO CA                   92126                                       Unliquidated
          City                 State     ZIP Code                                    Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                         Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                      Student loans

                 Debtor 1 and Debtor 2 only                                          Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
                 At least one of the debtors and another                             Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                             debts
              debt                                                                   Other. Specify Medical Services
          Is the claim subject to offset?
              No
                 Yes

  4.13                                                                            Last 4 digits of account number
          CHAMPION COMPUTER PRODUCTS INC                                                                                                            $ 1,668,000.00
                                                                                  When was the debt incurred? 01/15/2000
          Nonpriority Creditor's Name
          (STOCKHOLDER LOAN)                                                      As of the date you file, the claim is: Check all that apply.
                                                                                     Contingent
          5215 COACOOCHEE TERR                                                       Unliquidated
          Number         Street                                                      Disputed
          JOHNS CREEK GA                       30022
          City                    State        ZIP Code                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                             Student loans
            Debtor 1 only                                                            Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
                 Debtor 2 only
                                                                                     Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                                          debts
                 At least one of the debtors and another                             Other. Specify Monies Loaned / Advanced
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes

  4.14                                                                            Last 4 digits of account number 6116
          CHASE MARRIOTT                                                                                                                               $ 7,691.00
                                                                                  When was the debt incurred? 01/15/2015
          Nonpriority Creditor's Name
          PO BOX 6294                                                             As of the date you file, the claim is: Check all that apply.
          Number         Street                                                      Contingent
          CAROL STREAM IL                       60194                                Unliquidated
          City                         State    ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                         Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                      Student loans

                 Debtor 1 and Debtor 2 only                                          Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
                 At least one of the debtors and another                             Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                             debts
              debt                                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                           Schedule E/F: Creditors Who Have Unsecured Claims                         page 6 of 13
                  Scott Michael Guenther
 Debtor           Case     21-53061-wlh
                  First Name            Middle Name       Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                                19:18:03          Desc Main
                                                                                                                     number(if known)

                                                                               Document      Page 25 of 62
  4.15                                                                           Last 4 digits of account number 1044
          CHASE SLATE                                                                                                                               $ 2,787.00
                                                                                 When was the debt incurred? 01/15/2015
          Nonpriority Creditor's Name
          PO BOX 6294                                                            As of the date you file, the claim is: Check all that apply.
          Number         Street                                                     Contingent
          CAROL STREAM IL                      60194                                Unliquidated
          City                     State       ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                        Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                     Student loans

                 Debtor 1 and Debtor 2 only                                         Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
                 At least one of the debtors and another                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                            debts
              debt                                                                  Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.16                                                                           Last 4 digits of account number 5310
          CITIBANK                                                                                                                                  $ 4,534.00
                                                                                 When was the debt incurred? 01/15/2015
          Nonpriority Creditor's Name
          PO BOX 9001037                                                         As of the date you file, the claim is: Check all that apply.
          Number         Street                                                     Contingent
          LOUISVILLE KY                 40290                                       Unliquidated
          City                 State    ZIP Code                                    Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                        Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                     Student loans

                 Debtor 1 and Debtor 2 only                                         Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
                 At least one of the debtors and another                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                            debts
              debt                                                                  Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.17                                                                           Last 4 digits of account number
          EDWARD R STILL                                                                                                                           $ 80,500.00
                                                                                 When was the debt incurred? 01/11/2015
          Nonpriority Creditor's Name
          315 W PONCE DE LEON AVE                                                As of the date you file, the claim is: Check all that apply.
          Number         Street                                                     Contingent
          SUITE 400                                                                 Unliquidated
                                                                                    Disputed
          DECATUR GA                   30030
          City            State        ZIP Code                                  Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                            Student loans
            Debtor 1 only                                                           Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
                 Debtor 2 only
                                                                                    Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                                         debts
                 At least one of the debtors and another                            Other. Specify Monies Loaned / Advanced
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                          Schedule E/F: Creditors Who Have Unsecured Claims                      page 7 of 13
                  Scott Michael Guenther
 Debtor           Case     21-53061-wlh
                  First Name             Middle Name   Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                             19:18:03          Desc Main
                                                                                                                  number(if known)

                                                                            Document      Page 26 of 62
  4.18                                                                        Last 4 digits of account number
          HEARTLAND PAYMENT SYSTEMS                                                                                                              $ 68,000.00
                                                                              When was the debt incurred?
          Nonpriority Creditor's Name
          616 N BROADWAY                                                      As of the date you file, the claim is: Check all that apply.
          Number         Street                                                  Contingent
          OKLAHOMA CITY                                                          Unliquidated
                                                                                 Disputed
          OKLA       AK          73102
          City       State       ZIP Code                                     Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                         Student loans
            Debtor 1 only                                                        Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
                 Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                                      debts
                 At least one of the debtors and another                         Other. Specify Monies Loaned / Advanced
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes

  4.19                                                                        Last 4 digits of account number 3711
          JAGUAR FINANCIAL                                                                                                                       $ 21,027.00
                                                                              When was the debt incurred? 02/28/2019
          Nonpriority Creditor's Name
          PO BOX 78232                                                        As of the date you file, the claim is: Check all that apply.
          Number         Street                                                  Contingent
          PHOENIX AZ               85062                                         Unliquidated
          City           State     ZIP Code                                      Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                  Student loans

                 Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
                 At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                         debts
              debt                                                               Other. Specify AUTO LOAN
          Is the claim subject to offset?
              No
                 Yes

  4.20                                                                        Last 4 digits of account number
          JERRY BOLES                                                                                                                           $ 150,000.00
                                                                              When was the debt incurred? 01/11/2012
          Nonpriority Creditor's Name
          240 HAWKS LAKE DRIVE                                                As of the date you file, the claim is: Check all that apply.
          Number         Street                                                  Contingent
          BALLGROUND GA                     30107                                Unliquidated
          City                   State      ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                  Student loans

                 Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
                 At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                         debts
              debt                                                               Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                       Schedule E/F: Creditors Who Have Unsecured Claims                       page 8 of 13
                  Scott Michael Guenther
 Debtor           Case     21-53061-wlh
                  First Name             Middle Name   Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                             19:18:03          Desc Main
                                                                                                                  number(if known)

                                                                            Document      Page 27 of 62
  4.21                                                                        Last 4 digits of account number 6406
          KABBAGE (LIEN FILED, COLLECTION AGENCY)                                                                                               $ 36,097.08
                                                                              When was the debt incurred? 01/25/2020
          Nonpriority Creditor's Name
          600 WEST BROADWAY                                                   As of the date you file, the claim is: Check all that apply.
          Number         Street                                                  Contingent
          SUITE 700 ATTN: LINCOLN AND MORGAN, CHRISTINA                          Unliquidated
                                                                                 Disputed
          PHILLIPS
                                                                              Type of NONPRIORITY unsecured claim:
          SAN DIEGO CA                   92101                                  Student loans
          City                 State     ZIP Code                                Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
          Who owes the debt? Check one.
                                                                                 Debts to pension or profit-sharing plans, and other similar
            Debtor 1 only                                                        debts
                 Debtor 2 only                                                   Other. Specify Monies Loaned / Advanced
                 Debtor 1 and Debtor 2 only
                 At least one of the debtors and another
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes

  4.22                                                                        Last 4 digits of account number
          MICHAEL EGAN                                                                                                                          $ 75,000.00
                                                                              When was the debt incurred? 07/06/2010
          Nonpriority Creditor's Name
          6770 BUFORD HWY                                                     As of the date you file, the claim is: Check all that apply.
          Number         Street                                                  Contingent
          ATLANTA GA                   30340                                     Unliquidated
          City           State         ZIP Code                                  Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                  Student loans

                 Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
                 At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                         debts
              debt                                                               Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
                 Yes
  4.23                                                                        Last 4 digits of account number 1130
          NORTHWEST BANK                                                                                                                        $ 39,528.97
                                                                              When was the debt incurred? 08/15/2018
          Nonpriority Creditor's Name
          PO BOX 1793                                                         As of the date you file, the claim is: Check all that apply.
          Number         Street                                                  Contingent
          WARREN PA                    16365                                     Unliquidated
          City          State          ZIP Code                                  Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                  Student loans
                 Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
                 At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                         debts
              debt                                                               Other. Specify AUTO LOAN
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                       Schedule E/F: Creditors Who Have Unsecured Claims                      page 9 of 13
                  Scott Michael Guenther
 Debtor           Case     21-53061-wlh
                  First Name       Middle Name      Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                          19:18:03          Desc Main
                                                                                                               number(if known)

                                                                         Document      Page 28 of 62
  4.24                                                                     Last 4 digits of account number 1651
          SALLIE MAE                                                                                                                         $ 10,868.33
                                                                           When was the debt incurred? 09/02/2015
          Nonpriority Creditor's Name
          PO BOX 8377                                                      As of the date you file, the claim is: Check all that apply.
          Number         Street                                               Contingent
          PHILADELPHIA PA              19101-8377                             Unliquidated
          City                 State   ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                               Student loans
                 Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
                 At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
                 Yes
  4.25                                                                     Last 4 digits of account number 8664
          SALLIE MAE                                                                                                                          $ 9,141.01
                                                                           When was the debt incurred? 09/03/2015
          Nonpriority Creditor's Name
          PO BOX 8377                                                      As of the date you file, the claim is: Check all that apply.
          Number         Street                                               Contingent
          PHILADELPHIA PA              19101-8377                             Unliquidated
          City                 State   ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                               Student loans
                 Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
                 At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
                 Yes
  4.26                                                                     Last 4 digits of account number 8236
          SALLIE MAE                                                                                                                          $ 3,966.34
                                                                           When was the debt incurred? 06/22/2015
          Nonpriority Creditor's Name
          PO BOX 8377                                                      As of the date you file, the claim is: Check all that apply.
          Number         Street                                               Contingent
          PHILADELPHIA PA              19101-3877                             Unliquidated
          City                 State   ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                               Student loans

                 Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
                 At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                     page 10 of 13
                  Scott Michael Guenther
 Debtor           Case     21-53061-wlh
                  First Name       Middle Name      Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                          19:18:03          Desc Main
                                                                                                               number(if known)

                                                                         Document      Page 29 of 62
  4.27                                                                     Last 4 digits of account number 3678
          SALLIE MAE                                                                                                                         $ 4,678.22
                                                                           When was the debt incurred? 02/11/2015
          Nonpriority Creditor's Name
          PO BOX 3877                                                      As of the date you file, the claim is: Check all that apply.
          Number         Street                                               Contingent
          PHILADELPHIA PA              19101-3877                             Unliquidated
          City                 State   ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                               Student loans

                 Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
                 At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
                 Yes

  4.28                                                                     Last 4 digits of account number 8690
          SALLIE MAE                                                                                                                         $ 4,104.28
                                                                           When was the debt incurred? 05/20/2015
          Nonpriority Creditor's Name
          PO BOX 8377                                                      As of the date you file, the claim is: Check all that apply.
          Number         Street                                               Contingent
          PHILADELPHIA PA              19101-3877                             Unliquidated
          City                 State   ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                               Student loans

                 Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
                 At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
                 Yes

  4.29                                                                     Last 4 digits of account number 7304
          SALLIE MAE                                                                                                                         $ 9,839.22
                                                                           When was the debt incurred? 02/19/2016
          Nonpriority Creditor's Name
          PO Box 8377                                                      As of the date you file, the claim is: Check all that apply.
          Number         Street                                               Contingent
          philadelphia PA          19101-8377                                 Unliquidated
          City             State   ZIP Code                                   Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                               Student loans
                 Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
                 At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                    page 11 of 13
                  Scott Michael Guenther
 Debtor           Case     21-53061-wlh
                  First Name             Middle Name   Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                             19:18:03          Desc Main
                                                                                                                  number(if known)

                                                                            Document      Page 30 of 62
  4.30                                                                        Last 4 digits of account number
          TRADE CREDIT GUARANTY CORP (NOW) (LAWSUIT)                                                                                                                          $ 82,419.93
                                                                              When was the debt incurred?
          Nonpriority Creditor's Name
          3490 PIEDMONT ROAD                                                  As of the date you file, the claim is: Check all that apply.
          Number         Street                                                  Contingent
          SUITE 1100 ATTN: VIVIAN UCHITEL, SIMPSON,                              Unliquidated
                                                                                 Disputed
          UCHITEL, AND WILSON
                                                                              Type of NONPRIORITY unsecured claim:
          ATLANTA GA               30305                                        Student loans
          City           State     ZIP Code                                      Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
          Who owes the debt? Check one.
                                                                                 Debts to pension or profit-sharing plans, and other similar
            Debtor 1 only                                                        debts
                 Debtor 2 only                                                   Other. Specify Monies Loaned / Advanced
                 Debtor 1 and Debtor 2 only
                 At least one of the debtors and another
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes

  4.31                                                                        Last 4 digits of account number 4706
          USAA SIGNATURE VISA                                                                                                                                                   $ 6,372.00
                                                                              When was the debt incurred? 01/15/2015
          Nonpriority Creditor's Name
          9800 FREDERICKSBURG RD                                              As of the date you file, the claim is: Check all that apply.
          Number         Street                                                  Contingent
          SAN ANTONIO TX                    78288                                Unliquidated
          City                   State      ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                  Student loans

                 Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
                 At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                         debts
              debt                                                               Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

   Part 3:         List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is trying to
     collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor
     for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill
     out or submit this page.


   Part 4:         Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.



                                                                                                                          Total claim

   Total claims           6a. Domestic support obligations                                                     6a.   $ 97,500.00
   from Part 1
                          6b. Taxes and certain other debts you owe the government                             6b.   $ 267,660.00

                          6c. Claims for death or personal injury while you were                               6c.   $ 0.00
                              intoxicated
                          6d. Other. Add all other priority unsecured claims. Write that                       6d.   $ 0.00
                              amount here.
                          6e. Total. Add lines 6a through 6d.                                                  6e.
                                                                                                                       $ 365,160.00




Official Form 106E/F                                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 12 of 13
               Scott Michael Guenther
 Debtor        Case     21-53061-wlh
               First Name      Middle Name    Last Name   Doc 1     Filed 04/15/21 Entered 04/15/21 Case
                                                                                                    19:18:03          Desc Main
                                                                                                         number(if known)

                                                                   Document      Page 31 of 62
                                                                                                                 Total claim

   Total claims        6f. Student loans                                                              6f.   $ 42,597.40
   from Part 2
                       6g. Obligations arising out of a separation agreement or                       6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other similar                6h.   $ 0.00
                           debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that              6i.   $ 2,735,200.37
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                            6j.
                                                                                                             $ 2,777,797.77




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims               page 13 of 13
              Case 21-53061-wlh                     Doc 1     Filed 04/15/21 Entered 04/15/21 19:18:03                          Desc Main
                                                             Document      Page 32 of 62
  Fill in this information to identify your case:


  Debtor 1
                     Scott Michael Guenther
                      First Name       Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name         Middle Name           Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number                                                                                                                        Check if this is an
  (if know)                                                                                                                          amended filing




Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of
any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).


 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                     State what the contract or lease is for




Official Form 106G                                       Schedule G: Executory Contracts and Unexpired Leases                                    page 1 of 1
                  Case 21-53061-wlh                     Doc 1        Filed 04/15/21 Entered 04/15/21 19:18:03                       Desc Main
                                                                    Document      Page 33 of 62
 Fill in this information to identify your case:


 Debtor 1
                  Scott Michael Guenther
                   First Name         Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name         Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                                     Check if this is an
 (if know)                                                                                                                                       amended filing




Official Form 106H
Schedule H: Your Codebtors                                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.


  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       No
       Yes
  2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        No. Go to line 3.
        Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
     again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
     Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
3.1      Champion Computer Products, Inc.                                                          Schedule D, line
         Name                                                                                      Schedule E/F, line 4.9
         5215 Coacoochee Terrace N                                                                 Schedule G, line
         Street
         Johns
         City
         Creek            GA      30022
                          State   ZIP Code
3.2      Champion Computer Products, Inc.                                                          Schedule D, line
         Name                                                                                      Schedule E/F, line 4.18
         5215 Coacoochee Terrace N                                                                 Schedule G, line
         Street
         Johns
         City
         Creek            GA      30022
                          State   ZIP Code
3.3      Champion Computer Products, Inc.                                                          Schedule D, line
         Name                                                                                      Schedule E/F, line 4.20
         5215 Coacoochee Terrace N                                                                 Schedule G, line
         Street
         Johns
         City
         Creek            GA      30022
                          State   ZIP Code




Official Form 106H                                                        Schedule H: Your Codebtors                                                      page 1 of 2
                  Scott Michael Guenther
Debtor            Case
                First Name 21-53061-wlh
                                     Middle Name   Last Name   Doc 1    Filed 04/15/21 Entered 04/15/21 Case
                                                                                                        19:18:03          Desc Main
                                                                                                             number(if known)

                                                                       Document      Page 34 of 62
3.4      Champion Computer Products, Inc.                                                             Schedule D, line
         Name                                                                                         Schedule E/F, line 4.30
         5215 Coacoochee Terrace N                                                                    Schedule G, line
         Street
         Johns
         City
         Creek               GA        30022
                             State     ZIP Code
3.5      Champion Computer Products, Inc.                                                             Schedule D, line
         Name                                                                                         Schedule E/F, line 4.17
         5215 Coacoochee Terrace N                                                                    Schedule G, line
         Street
         Johns
         City
         Creek               GA        30022
                             State     ZIP Code
3.6      Champion Computer Products, Inc.                                                             Schedule D, line
         Name                                                                                         Schedule E/F, line 4.4
         5215 Coacoochee Terrace N                                                                    Schedule G, line
         Street
         Johns
         City
         Creek               GA        30022
                             State     ZIP Code
3.7      Champion Computer Products, Inc.                                                             Schedule D, line
         Name                                                                                         Schedule E/F, line 4.2
         5215 Coacoochee Terrace N                                                                    Schedule G, line
         Street
         Johns
         City
         Creek               GA        30022
                             State     ZIP Code
3.8      Champion Computer Products, Inc.                                                             Schedule D, line
         Name                                                                                         Schedule E/F, line 4.22
         5215 Coacoochee Terrace N                                                                    Schedule G, line
         Street
         Johns
         City
         Creek               GA        30022
                             State     ZIP Code




Official Form 106H                                                           Schedule H: Your Codebtors                               page 2 of 2
               Case 21-53061-wlh                Doc 1        Filed 04/15/21 Entered 04/15/21 19:18:03                              Desc Main
                                                            Document      Page 35 of 62
 Fill in this information to identify your case:

                      Scott Michael Guenther
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Northern District of GeorgiaDistrict
                                                                                    tate)
 Case number         ___________________________________________                                        Check if this is:
  (If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
                                                                                                           ________________
Official Form 106I                                                                                         MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                             Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                           ✔ Employed
    information about additional          Employment status                                                                Employed
    employers.                                                             Not employed                                 
                                                                                                                         ✔   Not employed
    Include part-time, seasonal, or
    self-employed work.                                                    Owner/Operator
                                          Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                          Champion Computer Products,
                                         Employer’s name
                                                                          Inc.
                                                                        __________________________________            __________________________________


                                         Employer’s address                5215 Coacoochee Ter N.
                                                                        _______________________________________     ________________________________________
                                                                         Number Street                               Number    Street

                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________

                                                                           Johns Creek, GA 30022
                                                                        _______________________________________     ________________________________________
                                                                         City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   30 years                                           ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.      16,666.66                     0.00
                                                                                                  $___________           $____________

 3. Estimate and list monthly overtime pay.                                                 3.   + $___________
                                                                                                           0.00      +            0.00
                                                                                                                         $____________


 4. Calculate gross income. Add line 2 + line 3.                                            4.      16,666.66
                                                                                                  $__________                     0.00
                                                                                                                         $____________




Official Form 106I                                                  Schedule I: Your Income                                                      page 1
             Case 21-53061-wlh Doc 1
              Scott Michael Guenther
                                                                           Filed 04/15/21 Entered 04/15/21 19:18:03 Desc Main
Debtor 1         _______________________________________________________  Document      Page 36 of Case
                                                                                                    62 number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.       16,666.66
                                                                                                                          $___________                    0.00
                                                                                                                                                  $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.        6,220.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
                                                                                                                                0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +            0.00
                                                                                                                                                  $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        6,220.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       10,446.66
                                                                                                                         $____________                     0.00
                                                                                                                                                  $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                8,333.33                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                     0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.        8,333.33
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           18,779.99
                                                                                                                         $___________     +               0.00
                                                                                                                                                  $_____________    =     18,779.99
                                                                                                                                                                        $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11. + $_____________
                                                                                                                                                                            0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                          18,779.99
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                        12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                page 2
               Case 21-53061-wlh                 Doc 1         Filed 04/15/21 Entered 04/15/21 19:18:03                                     Desc Main
                                                              Document      Page 37 of 62
  Fill in this information to identify your case:

                     Scott Michael Guenther
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          Northern District of Georgia
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                     expenses as of the following date:
                                                                                      (State)
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  ✔ No
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                      No
                                                                                           _________________________                ________
   names.                                                                                                                                             Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  1,310.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       137.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       209.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   380.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                     50.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
               Case 21-53061-wlh                 Doc 1            Filed 04/15/21 Entered 04/15/21 19:18:03                    Desc Main
                                                                 Document      Page 38 of 62
                    Scott Michael Guenther
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      495.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                       70.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      360.00
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                      228.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                    1,200.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      550.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      100.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                    1,160.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      350.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                      200.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.   $_____________________
                                                                                                                                         0.00
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                    1,310.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      307.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                  Estimated Tax Payments
        Specify: ________________________________________________________                                        16.
                                                                                                                                    3,000.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                      910.91
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                      999.75
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.   $_____________________
                                                                                                                                         0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.               1,500.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
              Case 21-53061-wlh                 Doc 1           Filed 04/15/21 Entered 04/15/21 19:18:03                        Desc Main
                                                               Document      Page 39 of 62
                   Scott Michael Guenther
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Monthly Priority Tax Payment
                                                                                                                                      4,400.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                19,226.66
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                19,226.66
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                      18,779.99
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                19,226.66
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                   -446.67
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
                  Case 21-53061-wlh                 Doc 1     Filed 04/15/21 Entered 04/15/21 19:18:03                              Desc Main
                                                             Document      Page 40 of 62
Fill in this information to identify your case:

Debtor 1           Scott Michael Guenther
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Georgia District of __________
                                                                                (State)
Case number         ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Scott Michael Guenther
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              04/15/2021
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules
               Case 21-53061-wlh                            Doc 1      Filed 04/15/21 Entered 04/15/21 19:18:03                                               Desc Main
                                                                      Document      Page 41 of 62

 Fill in this information to identify your case:

                    Scott Michael Guenther
 Debtor 1
                    First Name              Middle Name        Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name        Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (if know)                                                                                                                                                               Check if this is an
                                                                                                                                                                         amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                                          4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.


           Debtor 1:                                                       Dates Debtor 1               Debtor 2:                                                Dates Debtor 2
                                                                           lived there                                                                           lived there


                                                                                                          Same as Debtor 1                                           Same as Debtor 1

                                                                             From 04/17/2011                                                                         From
        4435 pemberton cove
                                                                             To 07/07/2020                                                                           To
        Number       Street                                                                                Number     Street
        johns creek GA           30022
        City           State     ZIP Code                                                                  City     State   ZIP Code




 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states
    and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.

                                                                             Debtor 1                                                  Debtor 2


                                                                             Sources of income           Gross income                  Sources of income             Gross income
                                                                             Check all that apply        (before deductions and        Check all that apply          (before deductions and
                                                                                                         exclusions)                                                 exclusions)

         From January 1 of current year until the date you filed
         for bankruptcy:                                                         Wages, commissions,                                       Wages, commissions,
                                                                                                     $ 100,000.00                          bonuses, tips         $
                                                                                 bonuses, tips
                                                                                 Operating a business                                     Operating a business



         For last calendar year:
                                                                                 Wages, commissions,                                       Wages, commissions,
                                                                                                     $ 300,000.00                          bonuses, tips         $
         (January 1 to December 31, 2020                                         bonuses, tips
                                                                                 Operating a business                                     Operating a business



Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                page 1 of 6
               Case 21-53061-wlh                             Doc 1      Filed 04/15/21 Entered 04/15/21 19:18:03 Desc Main
Debtor          Scott Michael Guenther
               First Name       Middle Name      Last Name
                                                                       Document      Page 42 of 62      Case number(if known)


           For the calendar year before that:
                                                                               Wages, commissions,                                           Wages, commissions,
                                                                                                   $ 319,000.00                              bonuses, tips            $
           (January 1 to December 31, 2019                                     bonuses, tips
                                                                               Operating a business                                          Operating a business



5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public
   benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case
   and you have income that you received together, list it only once under Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.

         No
         Yes. Fill in the details.


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8)
             as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments
                    and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid
                          that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.


7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders include your
   relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer,
   director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
   proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.



 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract disputes.
         No
         Yes. Fill in the details.

                                                                    Nature of the case                       Court or agency                                                Status of the case


    Case title:                                                                                                                                                                  Pending
    CAN Capital Asset Servicing Inc. v.                             Contract
    Champion Computer Product Inc. and                                                                      State Court of Fulton County                                         On appeal
    Scott Guenther                                                                                          Court Name                                                           Concluded
    Case number: 20EV007035                                                                                 141 Prior St.
                                                                                                            Number     Street
                                                                                                            Atlanta GA       30303
                                                                                                            City     State   ZIP Code



Official Form 107                                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 2 of 6
                 Case 21-53061-wlh                             Doc 1      Filed 04/15/21 Entered 04/15/21 19:18:03 Desc Main
Debtor            Scott Michael Guenther
                 First Name       Middle Name      Last Name
                                                                         Document      Page 43 of 62      Case number(if known)



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
    appointed receiver, a custodian, or another official?
         No
         Yes


 Part 5:          List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

              Gifts with a total value of more than $600 per             Describe the gifts                                                   Dates you gave      Value
              person                                                                                                                          the gifts
                                                                                                                                              05/2020             $ 9,000.00
                                                                        Helped buy a car for daughter in college.
          Mary Lou Guenther                                                                                                                                       $ 0.00
          Person to Whom You Gave the Gift


          Number         Street
          .          .        .
          City       State    ZIP Code
          Person’s relationship to you Daughter

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.



 Part 6:          List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?
         No
         Yes. Fill in the details.

              Describe the property you lost and how the loss            Describe any insurance coverage for the loss                         Date of your loss   Value of property
              occurred                                                                                                                                            lost
                                                                         Include the amount that insurance has paid. List pending insurance
                                                                         claims on line 33 of Schedule A/B: Property.

                                                                                                                                              12/2020             $ 25,000.00
              Loss from theft from Bookkeepper                          State Farm; $10,000




 Part 7:          List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.




Official Form 107                                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3 of 6
                 Case 21-53061-wlh                          Doc 1      Filed 04/15/21 Entered 04/15/21 19:18:03 Desc Main
Debtor            Scott Michael Guenther
                 First Name       Middle Name   Last Name
                                                                      Document      Page 44 of 62      Case number(if known)



                                                                      Description and value of any property transferred              Date payment or     Amount of
                                                                                                                                     transfer was made   payment
                                                                                                                                     03/2021             $ 7,500.00
          Wiggam & Geer, LLC                                                                                                                             $ 7,500.00
          Person Who Was Paid
          50 Hurt Plaza, SE, Suite 1150
          Number         Street
          Atlanta GA          30303
          City       State    ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You



                                                                      Description and value of any property transferred              Date payment or     Amount of
                                                                                                                                     transfer was made   payment
                                                                                                                                     03/2021             $ 14.99
          Debtoredu.com                                                                                                                                  $
          Person Who Was Paid


          Number         Street
          .          .        .
          City       State    ZIP Code
          debtoredu.com
          Email or website address


          Person Who Made the Payment, if Not You



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred
    in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.



 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
    brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
    securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.



 Part 9:          Identify Property You Hold or Control for Someone Else



Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4 of 6
                Case 21-53061-wlh                              Doc 1      Filed 04/15/21 Entered 04/15/21 19:18:03 Desc Main
Debtor           Scott Michael Guenther
                First Name           Middle Name   Last Name
                                                                         Document      Page 45 of 62      Case number(if known)



23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.
         No
         Yes. Fill in the details.



 Part 10:        Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.



 Part 11:        Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

              A member of a limited liability company (LLC) or limited liability partnership (LLP)

              A partner in a partnership

              An officer, director, or managing executive of a corporation

              An owner of at least 5% of the voting or equity securities of a corporation

         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

                                                                            Describe the nature of the business                         Employer Identification number
         Champion Computer Products, Inc.                                                                                               Do not include Social Security number or ITIN.
         Business Name
                                                                           Computer business
         5215 Coacoochee Ter N.                                                                                                         EIN: 5   8   –1     9    0   9   0   6   2
         Number        Street                                                                                                           Dates business existed
         Johns Creek GA              30022                                 Name of accountant or bookkeeper
                                                                                                                                        From              To
         City                State   ZIP Code
                                                                           Herman, Silver & Associates, CPAs, LLC                       02/05/2002        Current




28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                page 5 of 6
              Case 21-53061-wlh                         Doc 1      Filed 04/15/21 Entered 04/15/21 19:18:03 Desc Main
Debtor         Scott Michael Guenther
              First Name      Middle Name   Last Name
                                                                  Document      Page 46 of 62      Case number(if known)




 Part 12:      Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Scott Michael Guenther
         Signature of Debtor 1                                                Signature of Debtor 2

         Date 04/15/2021                                                      Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                            Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                        Declaration, and Signature (Official Form 119).




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 6 of 6
                 Case 21-53061-wlh                   Doc 1     Filed 04/15/21 Entered 04/15/21 19:18:03                                   Desc Main
                                                              Document      Page 47 of 62
Fill in this information to identify your case:

                  Scott Michael Guenther
Debtor 1          __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Georgia District of __________
                                                                                   (State)
Case number         ___________________________________________                                                                                 Check if this is an
 (If known)                                                                                                                                        amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                             12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that    Did you claim the property
                                                                                        secures a debt?                                    as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                            No
          name:           GA DAWG LLC
                                                                                        Retain the property and redeem it.                 Yes
         Description of          5215 Coacoochee Terr.
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s        Jaguar Financial                                             Surrender the property.                           
                                                                                                                                           ✔ No
         name:
                                                                                        Retain the property and redeem it.                 Yes
         Description of          2016 Jaguar xjl
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s      Northwest Bank                                                 Surrender the property.                           
                                                                                                                                           ✔ No
         name:
                                 2013 maserati gran turismo                             Retain the property and redeem it.                 Yes
         Description of
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                            No
         name:
                                                                                        Retain the property and redeem it.                 Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


  Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
              Case 21-53061-wlh                 Doc 1      Filed 04/15/21 Entered 04/15/21 19:18:03                         Desc Main
                                                          Document      Page 48 of 62
                     Scott Michael Guenther
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Scott Michael Guenther
         ___________________________________________             ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             04/15/2021
     Date _________________                                        Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
              Case 21-53061-wlh                    Doc 1         Filed 04/15/21 Entered 04/15/21 19:18:03                                Desc Main
 Fill in this information to identify your case:
                                                                Document      Page 49 of 62
                                                                                                          Check one box only as directed in this form and in
                                                                                                          Form 122A-1Supp:
 Debtor 1         Scott Michael Guenther
                  __________________________________________________________________
                     First Name                Middle Name                  Last Name
                                                                                                          
                                                                                                          ✔   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                  Last Name                        2. The calculation to determine if a presumption of
                                                                                                                 abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: ____________
                                         Northern District   ofofGeorgia
                                                       District   _______________
                                                                                                                 Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                              3. The Means Test does not apply now because of
 (If known)
                                                                                                                 qualified military service but it could apply later.


                                                                                                           Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                 04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        
        ✔     Married and your spouse is NOT filing with you. You and your spouse are:
              
              ✔     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                        $_________           $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                  $_________           $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                $_________           $__________

   5. Net income from operating a business, profession,
                                                                           Debtor 1     Debtor 2
      or farm
      Gross receipts (before all deductions)                                  $______   $______
        Ordinary and necessary operating expenses                         – $______ – $______
                                                                                                   Copy
        Net monthly income from a business, profession, or farm               $______   $______ here         $_________           $__________

   6. Net income from rental and other real property                       Debtor 1     Debtor 2
      Gross receipts (before all deductions)                                  $______   $______
        Ordinary and necessary operating expenses                         – $______ – $______
                                                                                                   Copy
        Net monthly income from rental or other real property                 $______   $______ here         $_________           $__________
  7. Interest, dividends, and royalties                                                                       $_________           $__________



Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                      page 1
              Case 21-53061-wlh                                       Doc 1               Filed 04/15/21 Entered 04/15/21 19:18:03                                        Desc Main
                                                                                         Document      Page 50 of 62

Debtor 1          Scott Michael Guenther
                  _______________________________________________________                                                    Case number (if known)_____________________________________
                  First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                      $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
           For you ..................................................................................   $______________
           For your spouse ..................................................................           $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If you received any retired pay paid
      under chapter 61 of title 10, then include that pay only to the extent that it does not
      exceed the amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.                                                           $__________                  $___________
   10. Income from all other sources not listed above. Specify the source and amount. Do
       not include any benefits received under the Social Security Act; payments made under
       the Federal law relating to the national emergency declared by the President under the
       National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
       disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
       against humanity, or international or domestic terrorism; or compensation, pension,
       pay, annuity, or allowance paid by the United States Government in connection with a
       disability, combat-related injury or disability, or death of a member of the uniforces. If
       necessary, list other sources on a separate page and put the total below.

       ______________________________________                                                                                        $_________                   $___________
       ______________________________________                                                                                        $_________                   $___________

       Total amounts from separate pages, if any.                                                                                + $_________                  + $___________

   11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                                        +                          =
       column. Then add the total for Column A to the total for Column B.                                                            $_________                   $___________            $__________
                                                                                                                                                                                          Total current
                                                                                                                                                                                          monthly income
   Part 2:          Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.      Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here        $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                     x 12
       12b.      The result is your annual income for this part of the form.                                                                                                   12b.   $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.


       Fill in the median family income for your state and size of household. ................................................................................................. 13.   $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                     Go to Part 3. Do NOT fill out or file Official Form 122A-2.


       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.


Official Form 122A-1                                                Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
           Case 21-53061-wlh                  Doc 1           Filed 04/15/21 Entered 04/15/21 19:18:03                            Desc Main
                                                             Document      Page 51 of 62

Debtor 1     Scott Michael Guenther
             _______________________________________________________                              Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ Scott Michael Guenther
                   __________________________________________________________                   ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       04/15/2021
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
                 Case 21-53061-wlh                 Doc 1          Filed 04/15/21 Entered 04/15/21 19:18:03                           Desc Main
    Fill in this information to identify your case:              Document      Page 52 of 62

    Debtor 1           Scott Michael Guenther
                      __________________________________________________________________
                        First Name              Middle Name              Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name              Middle Name              Last Name


    United States Bankruptcy Court for the: Northern
                                            ______________________
                                                     District of Georgia District of __________

    Case number         ___________________________________________
    (If known)

                                                                                                            Check if this is an amended filing

 Official Form 122A─1Supp
St a t e m e nt of Ex e m pt ion from Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                                                         12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :        I de nt ify t he K ind of De bt s Y ou H a ve

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

     
     ✔
          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
              this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.

Pa rt 2 :        De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
    
     ✔ 
       No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                  10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                   No. Go to line 3.
                   Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
     
     ✔      No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No. Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                    I was called to active duty after September 11, 2001, for at least           If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                           Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                  box 3, The Means Test does not apply now, and sign
                    I was called to active duty after September 11, 2001, for at least
                                                                                                  Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                  Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                  Official Form 22A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.            exclusion period means the time you are on active duty
                                                                                                  or are performing a homeland defense activity, and for
                    I performed a homeland defense activity for at least 90 days,                540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                  If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                  you may have to file an amended form later.




Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                   page 1
Case 21-53061-wlh          Doc 1    Filed 04/15/21 Entered 04/15/21 19:18:03          Desc Main
                                   Document      Page 53 of 62

AMERICAN EXPRESS BLUE                              CHAMPION COMPUTER PRODUCTS INC
PO BOX 981535                                      (STOCKHOLDER LOAN)
EL PASO, TX 79998                                  5215 COACOOCHEE TERR
                                                   JOHNS CREEK, GA 30022

AMERICAN EXPRESS BUSINESS GOLD
PO BOX 981535                                      Champion Computer Products, Inc.
EL PASO, TX 79998                                  5215 Coacoochee Terrace N
                                                   Johns Creek, GA 30022

AMERICAN EXPRESS DELTA SKY MILES
PO BOX 981535                                      CHASE MARRIOTT
EL PASO, TX 79998-1535                             PO BOX 6294
                                                   CAROL STREAM, IL 60194

ARLINGTON GUENTHER
367 BLUFFS EDGE                                    CHASE SLATE
LAKE FOREST, IL 60045                              PO BOX 6294
                                                   CAROL STREAM, IL 60194

BANK OF AMERICA
PO BOX 982234                                      CITIBANK
EL PASO, TX 79998                                  PO BOX 9001037
                                                   LOUISVILLE, KY 40290

BARCLAYS BLACK MASTERCARD
PO BOX 8801                                        EDWARD R STILL
WILMINGTON, DE 19899                               315 W PONCE DE LEON AVE
                                                   SUITE 400
                                                   DECATUR, GA 30030
BARCLAYS NFL
PO BOX 8801
WILMINGTON, DE 19899                               GA DAWG LLC
                                                   367 BLUFFS EDGE
                                                   LAKE FOREST, IL 60045
BARCLAYS REWARDS
PO BOX 8801
WILMINGTON, DE 19899                               Georgia Department of Revenue
                                                   Bankruptcy Section
                                                   P.O. Box 161108
CAN CAPITAL ASSET SERVICING INC (LAWSUIT)          Atlanta, GA 30321-0000
12 POWDER SPRING STREET
SUITE 240 ATTN: JASON KHANO ATTY
MARIETTA, GA 30064                                 HEARTLAND PAYMENT SYSTEMS
                                                   616 N BROADWAY
                                                   OKLAHOMA CITY
CAPITAL ONE PLATINUM                               OKLA, AK 73102
PO BOX 30285
SALT LAKE CITY, UT 84130
                                                   Internal Revenue Service
                                                   CIO
CAPITAL ONE VENTURE VISA                           P.O. Box 7346
PO BOX 30285                                       Philadelphia, PA 19101-7346
SALT LAKE CITY, UT 84130

                                                   Jaguar Financial
CARE MEDICAL TRANSPORTATION                        PO BOX 78232
9770 CANDIDA STREET                                Phoenix, AZ 85062
SAN DIEGO, CA 92126

                                                   JAGUAR FINANCIAL
                                                   PO BOX 78232
                                                   PHOENIX, AZ 85062
Case 21-53061-wlh             Doc 1    Filed 04/15/21 Entered 04/15/21 19:18:03   Desc Main
                                      Document      Page 54 of 62

JANET HALPRIN
179 TOWLER SHOALS DRIVE
LOGANVILLE, GA 30052


JERRY BOLES
240 HAWKS LAKE DRIVE
BALLGROUND, GA 30107


KABBAGE (LIEN FILED, COLLECTION AGENCY)
600 WEST BROADWAY
SUITE 700 ATTN: LINCOLN AND MORGAN,
CHRISTINA PHILLIPS
SAN DIEGO, CA 92101


MICHAEL EGAN
6770 BUFORD HWY
ATLANTA, GA 30340


Northwest Bank
PO BOX 1793
WARREN, PA 16365


NORTHWEST BANK
PO BOX 1793
WARREN, PA 16365


SALLIE MAE
PO BOX 8377
PHILADELPHIA, PA 19101-3877


SALLIE MAE
PO BOX 8377
PHILADELPHIA, PA 19101-8377


SALLIE MAE
PO BOX 3877
PHILADELPHIA, PA 19101-3877


SALLIE MAE
PO Box 8377
philadelphia, PA 19101-8377


TRADE CREDIT GUARANTY CORP (NOW)
(LAWSUIT)
3490 PIEDMONT ROAD
SUITE 1100 ATTN: VIVIAN UCHITEL, SIMPSON,
UCHITEL, AND WILSON
ATLANTA, GA 30305


USAA SIGNATURE VISA
9800 FREDERICKSBURG RD
SAN ANTONIO, TX 78288
Case 21-53061-wlh      Doc 1      Filed 04/15/21 Entered 04/15/21 19:18:03     Desc Main
                                 Document      Page 55 of 62



                               United States Bankruptcy Court
                               Northern District of Georgia




         Scott Michael Guenther
In re:                                                          Case No.

                                                                Chapter    7
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              04/15/2021                          /s/ Scott Michael Guenther
Date:
                                                 Signature of Debtor



                                                 Signature of Joint Debtor
Case 21-53061-wlh             Doc 1      Filed 04/15/21 Entered 04/15/21 19:18:03                        Desc Main
                                        Document      Page 56 of 62




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

       You are an individual filing for bankruptcy,                      $245     filing fee
        and                                                                $78     administrative fee
                                                                +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                          $338     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                    difficulty preventing them from paying their
        household purpose.”                                     debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
       Chapter 7 — Liquidation
                                                                However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                                                                may deny your discharge.
                     for family farmers or
                     fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                                                                debts are not discharged under the law.
                     for individuals with regular
                                                                Therefore, you may still be responsible to pay:
                     income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
Case 21-53061-wlh            Doc 1       Filed 04/15/21 Entered 04/15/21 19:18:03                        Desc Main
                                        Document      Page 57 of 62




   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167    filing fee
If your income is above the median for your                     +          $571    administrative fee
state, you must file a second form —the                                  $1,738    total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
Case 21-53061-wlh              Doc 1     Filed 04/15/21 Entered 04/15/21 19:18:03                     Desc Main
                                        Document      Page 58 of 62

Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200   filing fee                                    future earnings. If the court approves your
+           $78   administrative fee                            plan, the court will allow you to repay your
           $278   total fee
                                                                debts, as adjusted by the plan, within 3 years or
                                                                5 years, depending on your income and other
Similar to chapter 13, chapter 12 permits
                                                                factors.
family farmers and fishermen to repay their
debts over a period of time using future                        After you make all the payments under your
earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
not paid.                                                       debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
                                                                    most student loans,
            individuals with regular
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee                                        debts for fraud or defalcation while acting
+          $78    administrative fee                                 in a fiduciary capacity,
          $313    total fee
                                                                    most criminal fines and restitution
                                                                     obligations,
Chapter 13 is for individuals who have regular
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.                      certain debts for acts that caused death or
You are eligible for chapter 13 only if your                         personal injury, and
debts are not more than certain dollar amounts                      certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
Case 21-53061-wlh                Doc 1       Filed 04/15/21 Entered 04/15/21 19:18:03                Desc Main
                                            Document      Page 59 of 62




                                                                A married couple may file a bankruptcy case
    Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                Understand which services you
    their deadlines, go to:                                     could receive from credit
    http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                If you are filing a joint case, both spouses must
consequences
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                forms/bankruptcy/credit-counseling-and-debtor-
Make sure the court has your                                    education-courses.
mailing address                                                 In Alabama and North Carolina, go to:
The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
Form 101). To ensure that you receive
                                                                If you do not have access to a computer, the
information about your case, Bankruptcy
                                                                clerk of the bankruptcy court may be able to
Rule 4002 requires that you notify the court of
                                                                help you obtain the list.
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)      page 4
        Case
     B2030     21-53061-wlh
           (Form 2030) (12/15)                Doc 1        Filed 04/15/21 Entered 04/15/21 19:18:03                                    Desc Main
                                                          Document      Page 60 of 62

                                      United States Bankruptcy Court
                                                              Northern District of Georgia
                                               __________________________________
     In re   Scott Michael Guenther

                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         7,162.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 7,162.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
   Case 21-53061-wlh                Doc 1       Filed 04/15/21 Entered 04/15/21 19:18:03                              Desc Main
 B2030 (Form 2030) (12/15)                     Document      Page 61 of 62
     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other adversary proceeding;
preparation and filing of reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for
avoidance of liens on household goods.
Case 21-53061-wlh      Doc 1     Filed 04/15/21 Entered 04/15/21 19:18:03                Desc Main
                                Document      Page 62 of 62



                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       04/15/2021                        /s/ Will Geer, 940493
     _____________________              _________________________________________
     Date                                     Signature of Attorney
                                         Wiggam & Geer, LLC
                                        _________________________________________
                                             ​Name of law firm
                                         50 Hurt Plaza, SE, Suite 1150
                                         Atlanta, GA 30303
                                         404-233-9800
                                         wgeer@wiggamgeer.com
